




02-12-197,098CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00197-CR

&nbsp;

&nbsp;


 
  
  Janelle
  Vanei Loggins
  &nbsp;
  &nbsp;
  &nbsp;
  v.
  &nbsp;
  &nbsp;
  &nbsp;
  The
  State of Texas
  
  
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  
  
  From Criminal District
  Court No. 1
  &nbsp;
  of
  Tarrant County (1266511W)
  &nbsp;
  March
  7, 2013
  &nbsp;
  Per
  Curiam
  &nbsp;
  (nfp)
  
 


&nbsp;

JUDGMENT

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
court has considered the record on appeal in this case and holds that there was
no error in the trial court’s judgment.&nbsp; It is ordered that the judgment of the
trial court is affirmed. 

&nbsp;

SECOND DISTRICT COURT OF APPEALS 

&nbsp;

&nbsp;

&nbsp;

PER
CURIAM

&nbsp;

&nbsp;

&nbsp;

&nbsp;


 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00197-CR

NO. 02-12-00198-CR

&nbsp;


 
  
  Janelle Vanei Loggins
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


&nbsp;

&nbsp;

----------

FROM Criminal
District Court No. 1 OF Tarrant COUNTY

----------

MEMORANDUM
OPINION[1]

----------

Appellant
Janelle Vanei Loggins appeals her convictions for attempted evading arrest or
detention and for endangering a child – criminal negligence after the trial
court revoked her deferred adjudication community supervision, adjudicated her
guilty, and sentenced her to six months’ confinement in each case, to be served
concurrently.&nbsp; See Tex. Penal Code Ann. §§ 22.041(c),&nbsp;38.04 (West
2011 &amp; Supp. 2012).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Loggins’s
court-appointed appellate counsel has filed a motion to withdraw as counsel and
a brief in support of that motion.&nbsp; Counsel’s brief and motion meet the
requirements of Anders v. California, 386 U.S. 738, 87 S. Ct. 1396
(1967), by presenting a professional evaluation of the record demonstrating why
there are no arguable grounds for relief.&nbsp; This court afforded Loggins the
opportunity to file a pro se brief on her own behalf, but she did not do so.&nbsp;
The State did not file a brief.

As
the reviewing court, we must conduct an independent evaluation of the record to
determine whether counsel is correct in determining that the appeals are
frivolous.&nbsp; See Stafford v. State, 813 S.W.2d 503, 511 (Tex. Crim. App.
1991); Mays v. State, 904 S.W.2d 920, 923 (Tex. App.—Fort Worth 1995, no
pet.).&nbsp; Only then may we grant counsel’s motion to withdraw.&nbsp; See Penson v.
Ohio, 488 U.S. 75, 82–83, 109 S. Ct. 346, 351 (1988). 

We
have carefully reviewed the record and counsel’s brief.&nbsp; We agree with counsel
that these appeals are wholly frivolous and without merit; we find nothing in
the record that arguably might support an appeal.&nbsp; See Bledsoe v. State,
178 S.W.3d 824, 827–28 (Tex. Crim. App. 2005).&nbsp; Accordingly, we grant counsel’s
motion to withdraw and affirm the trial court’s judgments.

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

PANEL:&nbsp;
WALKER, GARDNER, and MCCOY, JJ.

&nbsp;

DO
NOT PUBLISH

Tex.
R. App. P. 47.2(b)

&nbsp;

DELIVERED:&nbsp; March 7, 2013









[1]See Tex. R. App. P. 47.4.







